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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                    Filed: August 31, 2021

* * * * * * * * * * * * * *                               UNPUBLISHED
CLAIRE RUTZ,               *                              No. 18-551V
                           *                              Special Master Horner
         Petitioner,       *
                           *
v.                         *
                           *
SECRETARY OF HEALTH        *                              Attorneys’ Fees and Costs
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *
Bridget C. McCullough, Muller Brazil, LLP, Dresher, PA, for Petitioner.
Camille M. Collett, United States Department of Justice, Washington, D.C., for Respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

        On April 17, 2018, Claire Rutz filed a claim under the National Childhood Vaccine Injury
Act, 42 U.S.C. § 300aa-10-34 (2012),2 alleging that she suffered left shoulder injuries as a result
of her receipt of the Tdap vaccination administered on November 12, 2016. (ECF No. 1). On
November 3, 2020, I issued an order to show cause, indicating that if petitioner did not file an
expert report supporting her claim by February 1, 2021, the claim would be involuntarily
dismissed. (ECF No. 45). Petitioner did not file the ordered expert report and on February 2, 2021,
I issued my decision dismissing the petition for insufficient proof. (ECF No. 47).

        On June 16, 2021, petitioner filed an application for attorneys’ fees and costs. (ECF No.
52) (“Fees App.”). Petitioner requests total attorneys’ fees and costs in the amount of $15,415.60
(representing $14,410.60 in fees and $1,005.00 in costs). Fees App. at 2. Pursuant to General Order

1
 I intend to post this Ruling on the United States Court of Federal Claims’ website. This means the Ruling
will be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b), petitioner
has 14 days to identify and move to redact medical or other information, the disclosure of which would
constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified material fits
within this definition, I will redact such material from public access. Because this unpublished ruling
contains a reasoned explanation for the action in this case, I am required to post it on the United States
Court of Federal Claims’ website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501
note (2012) (Federal Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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No. 9, petitioner has indicated she has not personally incurred any costs related to the prosecution
of her claim. Id. Respondent responded to the motion on July 1, 2021, stating that “if the Special
Master is satisfied that this case was filed and proceeded with a reasonable basis, and the Special
Master further decides to exercise his discretion to award fees and costs in this uncompensated
case then the Federal Circuit has made it clear that the determination of the amount of reasonable
attorneys’ fees and costs is within the special master’s discretion.” Resp. at 2 (ECF No. 46)
(internal citation omitted). Petitioner did not file a reply thereafter.3

        This matter is now ripe for consideration.

I.      Reasonable Attorneys’ Fees and Costs

          The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e). The
Federal Circuit has approved the lodestar approach to determine reasonable attorneys’ fees and
costs under the Vaccine Act. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1347 (Fed.
Cir. 2008). This is a two-step process. Id. at 1347-48. First, a court determines an “initial estimate
. . . by ‘multiplying the number of hours reasonably expended on the litigation times a reasonable
hourly rate.’” Id. (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second, the court may
make an upward or downward departure from the initial calculation of the fee award based on
specific findings. Id. at 1348.

        It is “well within the special master’s discretion” to determine the reasonableness of fees.
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993); see also Hines
v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorneys’ fees and
costs.”). Applications for attorneys’ fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 316–18 (2008). Such applications, however,
should not include hours that are “‘excessive, redundant, or otherwise unnecessary.’” Saxton, 3
F.3d at 1521 (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum, 465 U.S. at 894-95. The “prevailing market rate” is akin to the rate
“in the community for similar services by lawyers of reasonably comparable skill, experience and
reputation.” Id. at 895, n.11. Petitioners bear the burden of providing adequate evidence to prove
that the requested hourly rate is reasonable. Id.

        Special masters can reduce a fee request sua sponte, without providing petitioners notice
and opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 86 Fed. Cl. 201, 209
(Fed. Cl. 2009). When determining the relevant fee reduction, special masters need not engage in
a line-by-line analysis of petitioners’ fee application. Broekelschen v. Sec’y of Health & Human
Servs., 102 Fed. Cl. 719, 729 (Fed. Cl. 2011). Instead, they may rely on their experience with the
Vaccine Program to determine the reasonable number of hours expended. Wasson v. Sec’y of Dep’t

3
 The question of whether this petition was filed with a reasonable basis is not controverted on this motion;
however, in the interest of completeness, I note that the underlying merits of this case were addressed in
my February 2, 2021 decision dismissing this case. 2021 WL 754308 (Fed. Cl. Spec. Mstr. Feb. 2, 2021).

                                                     2
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of Health & Human Servs., 24 Cl. Ct. 482, 484 (1991), rev’d on other grounds and aff’d in relevant
part, 988 F.2d 131 (Fed. Cir. 1993). Just as “[t]rial courts routinely use their prior experience to
reduce hourly rates and the number of hours claimed in attorney fee requests . . . Vaccine program
special masters are also entitled to use their prior experience in reviewing fee applications.” Saxton,
3 F.3d at 1521.

          a. Hourly Rates

        The decision in McCulloch provides a framework for consideration of appropriate ranges
for attorneys’ fees based upon the experience of the practicing attorney. McCulloch v. Sec’y of
Health & Human Servs., No. 09-293V, 2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1,
2015), motion for recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The
Court has since updated the McCulloch rates, and the Attorneys’ Forum Hourly Rate Fee
Schedules for 2015–2016, 2017, 2018, 2019, and 2020 can be accessed online.4

        Petitioner requests the following hourly rates for her counsel, Ms. Bridget McCullough:
$225 per hour for work performed in 2087, $233.00 per hour for work performed in 2018 and
2019, $250.00 per hour for work performed in 2020, and $275 for work performed in 2021. These
rates are consistent with what counsel has previously been awarded for her Vaccine Program work,
and the undersigned finds them to be reasonable herein.

          b. Hours Expended

         Attorneys’ fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521. While attorneys may be
compensated for non-attorney-level work, the rate must be comparable to what would be paid for
a paralegal or secretary. See O'Neill v. Sec'y of Health & Human Servs., No. 08–243V, 2015 WL
2399211, at *9 (Fed. Cl. Spec. Mstr. Apr. 28, 2015). Clerical and secretarial tasks should not be
billed at all, regardless of who performs them. See, e.g., McCulloch, 2015 WL 5634323, at *26.

         Upon review, the overall number of hours billed appears to be reasonable. I have reviewed
the billing entries and find that they adequately describe the work done on the case and the amount
of time spent on that work. I do not find any of the entries to be objectionable, nor has respondent
identified any as such. Petitioner is therefore awarded final attorneys’ fees of $14,410.60.

          c. Attorneys’ Costs

         Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $1,005.00 in attorneys’ costs, comprised of acquiring medical records, postage, the
Court’s filing fee. Fees App. at 16. Petitioner has provided adequate documentation of the
requested costs and they appear to be reasonable in my experience. Petitioner is therefore awarded
the full amount of costs sought.

4
    The OSM Fee Schedules are available at: http://www.cofc.uscourts.gov/node/2914.


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II.      Conclusion

       Based on all the above, I find that petitioner is entitled to the following award of reasonable
attorneys’ fees and costs:

    Attorneys’ Fees Requested                                             $14,410.60
    (Reduction to Fees)                                                        -
    Total Attorneys’ Fees Awarded                                         $14,410.60

    Attorneys’ Costs Requested                                             $1,005.00
    (Reduction of Costs)                                                       -
    Total Attorneys’ Costs Awarded                                         $1,005.00

    Total Attorneys’ Fees and Costs                                       $15,415.60

        In accordance with the Vaccine Act, 42 U.S.C. § 300aa-15(e) (2012), I have reviewed the
billing records and costs in this case and finds that petitioner’s request for fees and costs is
reasonable. I find it reasonable to compensate petitioner and her counsel as follows: a lump sum
in the amount of $15,415.60, representing reimbursement for petitioner’s attorneys’ fees and
costs, in the form of a check payable to petitioner and her attorney, Ms. Bridget McCullough.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of the
Court shall enter judgment in accordance herewith.5



         IT IS SO ORDERED.


                                                 s/Daniel T. Horner
                                                 Daniel T. Horner
                                                 Special Master




5
  Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek
review. Vaccine Rule 11(a).

                                                     4
